                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                   CIVIL ACTION NO. 5:17-CV-00102-MOC-DSC


 DENVER GLOBAL PRODUCTS, INC.,                    )
                                                  )
                  Plaintiff,                      )
                                                  )
 v.                                               )                  ORDER
                                                  )
 ROGER LEON, JEANNE HENDRIX                       )
 AND KEITH PIERCY,                                )
                                                  )
                Defendants.                       )



       THIS MATTER is before the Court on Defendants’ “Motion to Stay Proceedings to

Enforce Judgment” (document #61) filed October 17, 2018. Plaintiff has not responded to the

Motion and the time for responding has expired.

       For the reasons stated therein, the Motion is granted. Execution is stayed pending appeal.

The Defendants’ $300,000 appeal bond is accepted as appropriate security.

       The Clerk is directed to send copies of this Order to counsel for the parties and to the

Honorable Max O. Cogburn, Jr.

       SO ORDERED.

                                       Signed: November 13, 2018




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